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  AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                  Southern District of Georgia
                                                     Statesboro Division
                   United States of America                   )
                               V.                             )
                                                              ) Case No: CR696-00004-012
                          Leroy Bethel
                                                              ) USMNo: 09105-021
Date of Previous Judgment: October 8, 1996 __________ ) Michael Classens
(Usc Date of Last Amended Judgment if Applicable)             ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant         Director of the Bureau of Prisons
                                                      EJ the
                                                                                        the court under is u.s.c.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of _________________ months is reduced to
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                      36                      Amended Offense Level:        36
Criminal History Category:                   V                       Criminal History Category:     V
Previous Guideline Range:              life to _____ months          Amended Guideline Range: life to          months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
   Other (explain):



III. ADDITIONAL COMMENTS

A sentence of life imprisonment is statutorily required in this case; therefore, the retroactive amendment is not
applicable.


Except as provided above, all provisions of the judgment dated ___________________ shall remain in effect.
IT IS SO ORDERED.                                                          /1 /2
Order Date:           99                      g
                                                                                        Judge's


                                                                     B. Avant Edenfield
Effective Date:                                                      United States District Judge
                                                                     For the Southern District of Georgia
                    (if different from order date)                                    Printed name and title
